 
    

        
		
        

        
        
        
        
        

        
		
        	
		IN THE MATTER OF THE STRIKING OF NAMES OF MEMBERS OF THE OKLAHOMA BAR ASSOCIATION



    

	
    
	
	
	
		Skip to Main Content
		Accessibility Statement
	
	
		
			
				
					Help
					Contact Us
				
			
			
				
					e-payments
					Careers
				
			
		
	
	
		
			
			
		
		
			
				Home
				Courts
				Decisions
				Programs
				News
				Legal Research
				Court Records
				Quick Links
			
		
	
			
	
		OSCN Found Document:IN THE MATTER OF THE STRIKING OF NAMES OF MEMBERS OF THE OKLAHOMA BAR ASSOCIATION

					

				
  



				
					
					
						
						Previous Case

						
						Top Of Index

						
						This Point in Index

						
						Citationize

						
						Next Case

						
						Print Only
					
					
				

				
				IN THE MATTER OF THE STRIKING OF NAMES OF MEMBERS OF THE OKLAHOMA BAR ASSOCIATION2020 OK 69Case Number: SCBD-6800Decided: 09/14/2020THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2020 OK 69, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT FOR OFFICIAL PUBLICATION. 



IN THE MATTER OF THE STRIKING OF NAMES OF MEMBERS OF THE OKLAHOMA BAR ASSOCIATION FOR NONCOMPLIANCE WITH MANDATORY CONTINUING LEGAL EDUCATION REQUIREMENTS FOR THE YEAR 2018



ORDER STRIKING NAMES



The Board of Governors of the Oklahoma Bar Association filed an application for an Order Striking Names of attorneys from the Oklahoma Bar Association's membership rolls and from the practice of law in the State of Oklahoma for failure to comply with the Rules for Mandatory Continuing Legal Education, 5 O.S. 2001, ch. 1, app. 1-B, for the year 2018.

Pursuant to Rule 6(d) of the Rules for Mandatory Continuing Legal Education, the Oklahoma Bar Association's members named on Exhibit A, attached hereto, were suspended from membership in the Association and the practice of law in the State of Oklahoma by Order of this Court on June 10, 2019, for noncompliance with Rules 3 and 5 of the Rules for Mandatory Continuing Legal Education for the year 2018. Based on its application, this Court finds that the Board of Governors determined at their August 28, 2020, meeting that none of the Oklahoma Bar Association's members named on Exhibit A, attached hereto, have applied for reinstatement within one year of the suspension order. Further the Board of Governors requested that the members named on Exhibit A, attached hereto, shall cease to be members of the Oklahoma Bar Association and their names should therefore be stricken from its membership rolls and the Roll of Attorneys. This Court finds that the actions of the Board of Governors of the Oklahoma Bar Association are in compliance with the Rules.

It is therefore ordered that the attorneys named on Exhibit A, attached hereto, are hereby stricken from the Roll of Attorneys for failure to comply with the Rules for Mandatory Continuing Legal Education for the year 2018.

DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE THIS 14th DAY OF SEPTEMBER, 2020.


/S/CHIEF JUSTICE



ALL JUSTICES CONCUR



&nbsp;


&nbsp;

Brent Douglas Berry, OBA 18013
West Ylla Gosney Law Office
8 SW 89th St., Ste. 200
Oklahoma City, OK 73139-8533

Jess Lynn Brewer II, OBA 14680
13428 Palm Ave.
Edmond, OK 73013

Creighton Coy Collier, OBA 19434
4618 S. Columbia Pl.
Tulsa, OK 74105

William Christopher Cook, OBA 18035
1001 NW 63rd., Ste. 290
Oklahoma City, OK 73116

Bryan Lynn Kingery, OBA 15507
P.O. Box 398
Ada, OK 74821-0398

Emilie P. Kirkpatrick, OBA 21257
1901 N. Classen, Ste. 100
Oklahoma City, OK 73106

Joan Marie Lamson, OBA 18756
3709 N. Miller Ave.
Oklahoma City, OK 73112

Brandon Scott Nichols, OBA 18973
215 N. Cooke Tr.
Edmond, OK 73034

Thomas Edward Quirk, OBA 30793
P.O. Box 849
780 FM 1626
Manchca, TX 78652-0849

Amber Ann Sweet, OBA 31725
10535 E. 156th St., N
Collinsville, OK 74021





	Citationizer© Summary of Documents Citing This Document
	
	
		
		Cite
		Name
		Level
		
	
	
	None Found.
	
	
	Citationizer: Table of Authority
	
	
		
		Cite
		Name
		Level
		
	
	
	None Found.
	
	








				
					
					
				

		
		

	
		
			
				oscn
				
				EMAIL: webmaster@oscn.net
				Oklahoma Judicial Center
				2100 N Lincoln Blvd.
				Oklahoma City, OK 73105
			
			
				courts
				
					Supreme Court of Oklahoma
					Court of Criminal Appeals					
					Court of Civil Appeals
					District Courts
				
			
			
				decisions
				
					New Decisions
					Supreme Court of Oklahoma
					Court of Criminal Appeals
					Court of Civil Appeals
									
			
			
				programs
				
					The Sovereignty Symposium
					
					Alternative Dispute Resolution
					Early Settlement Mediation
					Children's Court Improvement Program (CIP)
					Judicial Nominating Commission
					Certified Courtroom Interpreters
					Certified Shorthand Reporters
					Accessibility ADA
									
			
		
	
	
		
			
				
				Contact Us
				Careers
				Accessibility ADA
			
		
	


	
        
        		
        
		
        		
        
        	
    
